Case 3:13-cv-01909-SCC Document 49 Filed 07/15/15 Page 1 of 1




                    IN THE UNITED STATES COURT
                  FOR THE DISTRICT OF PUERTO RICO




     RUBÉN VÉLEZ-SEPÚLVEDA,

                 Plaintiff,

                   v.                     CIV. NO.: 13-1909(SCC)

     GLAXOSMITHKLINE P.R.,
     INC.,

                 Defendant.




                         FINAL JUDGMENT

       Pursuant to the Opinion and Order entered at Docket No.
    48, judgment is hereby entered dismissing this case with
    prejudice.
       IT IS SO ORDERED, ADJUDGED, AND DECREED.
       In San Juan, Puerto Rico, this 15th day of July, 2015.
                  S/ SILVIA CARREÑO-COLL
                  UNITED STATES MAGISTRATE JUDGE
